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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND

SCOTTSDALE CAPITAL ADVISORS            )
CORPORATION, et al.,                   )
                                       )
                                       )
          Plaintiffs,                  )
                                       )
    v.                                 )
                                       )           Case No. 8:16-cv-860
FINANCIAL INDUSTRY                     )
REGULATORY AUTHORITY, INC.,            )
                                       )
                                       )
                                       )
                                       )
             Defendant.                )
                                       )

                EXHIBIT E – Order Setting Hearing in Los Angeles

      MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION
     FOR PRELIMINARY INJUNCTION AND PERMANENT INJUNCTION
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               FINANCIAL INDUSTRY REGULATORY AUTHORITY
                       OFFICE OF HEARING OFFICERS


DEPARTMENT OF ENFORCEMENT,

                       Complainant,                  Disciplinary Proceeding
                                                     No. 2014041724601
               V.
                                                     Hearing Offleer—LOM
SCOTTSDALE CAPITAL ADVISORS                      I

(CRDNO. 118786),

JOHN HURRY
(CRD NO. 2146449),

TIMOTHY B. DIBLASI
(CRDNO. 4623652),

and

D. MICHAEL CRUZ
(CRD NO. 2450344),

                       Respondents.


                     ORDER SETTING HEARING IN LOS ANGELES

        Under FINRA Rule 9235, the Hearing Officer is granted authority “to do all things
necessary and appropriate” in the conduct of a FINRA disciplinary proceeding. Pursuant to that
authority, I ORDER that the hearing scheduled in this matter for two weeks, running from June
13, 2016, through June 24, 2016, shall be held in Los Angeles, California.

        In concluding that Los Angeles is the best location for the hearing, I have balanced the
interests involved and considered what will best serve the effective, efficient and fair
presentation of the case. I briefly explain below.

        Background. At a pre-hearing conference on July 21, 2015, the Parties discussed the
location of the hearing. The case management and initial scheduling order left the issue open.
The choice was between Los Angeles, California, where the hearing can be held in F1NRA’s
offices, making use of the resources there, and Phoenix, Arizona, where the hearing would have
to be held at a hotel.
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        At the pre-hearing conference, the Parties agreed that District 2 should be designated the
primary district. The Department of Enforcement (“Enforcement”) originally suggested Los
Angeles, California, which is in District 2, as the location for the hearing, but was prepared to
accede to the suggestion by Respondents’ counsel that Phoenix, Arizona, should be the location
of the hearing. Respondents’ counsel asserted that Phoenix is close to Scottsdale, where the
Respondent firm, Scottsdale Capital Advisors (“Scottsdale”), and the individual Respondents are
located, and argued that it would be extraordinarily expensive and burdensome for Respondents
if the hearing is held in Los Angeles. Respondents’ counsel suggested that another corporate
representative might want to attend some or all of the hearing and that there might be some
employee witnesses from the Phoenix area, as well.

        Respondents filed a motion for summary disposition in December 2015 and the Parties
completed briefing on the motion at the end of January 2016. Various materials attached as
exhibits gave me a better understanding of the case, the likely witnesses, and the resources
required to resolve the matter.

        The Case Is Not Local To Phoenix. This is not a case that is local to the Phoenix area. It
involves allegations that one of the Respondents, John Hurry, owned, controlled, and operated a
Cayman Islands broker-dealer to conduct a microcap securities liquidation business for foreign
customers. Although the Cayman Islands entity routed the securities through Hurry’s U.S.
broker-dealer, Scottsdale, to be sold in the U.S. securities market, much of the evidence relates to
off-shore activities. The Complaint alleges that Hurry prospected for foreign customers,
traveling to meet them and arranging for them to deposit shares with his Cayman Islands broker
dealer. Hurry’s customers for the Cayman entity were in Belize, Panama, the Bahamas, and
other places outside the United States. Hurry’s level of involvement in the business of the
Cayman Islands entity is a critical issue.

       Most Participants In The Case Are Not Local To Phoenix. No lawyer who has filed an
appearance in this matter is from Phoenix. Respondents’ lawyers are from Washington, D.C.,
New York City, and Austin, Texas. Enforcement’s lawyers are from Boca Raton, Chicago, Los
Angeles, and New Orleans.

        Many of the potential witnesses are not from Phoenix. The lead examiner on the
investigation in this proceeding is from San Francisco. Respondent has requested permission to
present the testimony of an expert witness from Vienna, Virginia. A former employee of the
Cayman Islands broker-dealer, GR, is a likely witness who has ties to southern California and, at
one time, lived in Los Angeles. He gave on-the-record testimony in frvine, California, near his
location at the time in Newport Beach, California. A second former employee of the Cayman
entity gave on-the-record testimony in Los Angeles.

        Although the individual Respondents assert that they are located in the Phoenix area, at
least two of them gave on-the-record testimony elsewhere. Hurry testified in San Francisco;


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DiBlasi testified in Boca Raton. Furthermore, Hurry testified in his on-the-record testimony that
his residence is in Glenbrook, Nevada.

        Resources And Panel Members Will Be More Readily Available In Los Angeles. The
hearing is long, it is scheduled to run two weeks. Extensive technical resources will he required
because the Department of Enforcement is planning an electronic presentation, which will
require computer equipment and technical support throughout the hearing.

        These factors lead to concern about the resources available to support the effective and
efficient presentation of the case. If the hearing is in Los Angeles, the resources will he more
readily available than if the hearing is in a hotel in Phoenix.

        The length of the hearing also increases the difficulty of finding volunteers to serve on
the hearing panel. Since potential panel members wil] be solicited in the first instance from the
Primary District, District 2, it should be easier to find panel members if the hearing is in Los
Angeles. Los Angeles is in District 2. Phoenix is in District 3.

        The Burden On Respondents Does Not Appear Extraordinary. Respondents have chosen
to hire counsel outside of Phoenix, and, in fact, have hired lawyers from two different finns in
three different cities. The expense associated with their defense does not seem markedly
different whether the hearing is in Phoenix or Los Angeles. Furthermore, given that at least two
Respondents gave on-the-record testimony away from Phoenix, and given the record SO far of
Hurry’s travels abroad to develop business for the Cayman Islands entity, it does not appear that
Respondents will he unduly burdened if the hearing is in Los Angeles.




                                                     Lucinda 0. McConathy
                                                     Hearing Officer
Date:         February 29, 2016

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